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                        UNITED STATES BANKRUPTCY COURT
                                 District of Delaware
                             824 Market Street, 3rd Floor
                                Wilmington, DE 19801


In Re:                                                  Chapter: 11
W.R. Grace & Co., et al.
7500 Grace Drive
Columbia, MD 21044
 EIN: 65−0773649                                        Case No.: 01−01139−AMC




                                   NOTICE OF RESCHEDULED HEARING

The hearing regarding originally scheduled for 7/17/2019 has been rescheduled to 8/26/19 at 01:00 PM in the United
States Bankruptcy Court, .




                                                                       Una O'Boyle, Clerk of Court


dated: 7/8/19

(VAN−407)
